                       Case 1:21-cr-00444-JEB Document 1 Filed 06/10/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint



                                        UNITED STATES DISTRICT COURT
                                                                  for the
                                                            District of &ROXPELD

                  United States of America                           )
                             v.                                      )
                                                                     )      Case No.
                Brian Christopher Mock
                                                                     )
                    DOB: XXXXXX                                      )
                                                                     )
                                                                     )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021              in the county of                              in the
                         LQWKH'LVWULFWRI       &ROXPELD , the defendant(s) violated:

             Code Section                                                     Offense Description
        18 U.S.C. § 111(a)(1) - Assaulting, Resisting, or Impeding Certain Officers
        18 U.S.C. §§ 1752(a)(1), (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority; Disorderly and Disruptive Conduct in a Restricted Building or Grounds
        18 U.S.C. § 231(a)(3) - Obstruction of Law Enforcement During Civil Disorder
        40 U.S.C. § 5104(e)(2)(F) - Acts of Physical Violence in any of the Capitol Buildings or Grounds



         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                               Complainant’s signature

                                                                                       Beth Alvarez, Special Agent
                                                                                               Printed name and title
$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH
                                                                                                      2021.06.10
                                                                                                      13:40:18 -04'00'
Date:             06/10/2021
                                                                                                  Judge’s signature

City and state:                         :DVKLQJWRQ'&                      Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
